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                UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                MOTION TO WITHDRAW AS
                                         COUNSEL OF RECORD WITHOUT
                                         SUBSTITUTION

             Plaintiff,                  Case No:     24-cv-02944-KMM-JFD

v.

1.    Evergreen Recovery Inc.;
2.    Evergreen Mental Health Services Inc.;
3.    Ethos Recovery Clinic Inc.;
4.    Second Chances Recovery Housing Inc.;
5.    Second Chances Sober Living, Inc.;
6.    David Backus;
7.    Shawn Grygo; and
8.    Shantal Magadanz,

             Defendants.


      Pursuant to Rule 83.7(c) of the Local Rules of the United States District

Court for the District of Minnesota, the undersigned attorney hereby requests the

Court and counsel that Manda M. Sertich, currently listed as counsel of record for

Defendants Evergreen Recovery Inc., Evergreen Mental Health Services Inc.,

Ethos Recovery Clinic Inc., Second Chances Recovery Housing Inc., Second

Chances Sober Living, Inc. (collectively, “the Evergreen Entities”), and Shawn

Grygo be permitted to withdraw as counsel for the Evergreen Entities and Shawn

Grygo in this case for the following reasons: the Court’s Order for Entry of

Preliminary Injunction, Order Appointing Receiver, and Other Equitable Relief
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prevents the Evergreen Entities and Ms. Grygo from retaining counsel, and

representations made by the United States at the August 9, 2024 hearing made

clear that resources to retain counsel are unlikely to be available through the

Court-appointed Receiver. Further, this case is in a very early stage, and the

undersigned appeared for a very limited time leading up to the appointment of a

receiver. As such, there is good cause for withdrawal.

       Pursuant to Rule 83.7(c) of the Local Rules, the undersigned has notified

the clients of the motion.


Dated: August 13, 2024                       s/ Manda M. Sertich
                                            Manda M. Sertich (#0504328)
                                            FREDRIKSON & BYRON, P.A.
                                            60 South Sixth Street, Suite 1500
                                            Minneapolis, MN 55402-4400
                                            Telephone: 612.492.7000
                                            Email: msertich@fredlaw.com

                                            Attorneys for Defendants Evergreen
                                            Recovery Inc., Evergreen Mental Health
                                            Services Inc., Ethos Recovery Clinic Inc.,
                                            Second Chances Recovery Housing Inc.,
                                            Second Chances Sober Living, Inc., and
                                            Shawn Grygo




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